Case 2:05-cr-20134-SH|\/| Document 18 Filed 06/21/05 Page 1 of 2 Page|D 15

 

IN THE UNITED STATES DISTRICT COURT

F:I.Et) av;
FOR THE WESTERN DISTRJCT FOR TENNESSEE

05 JU . ' . »
WESTERN DIVISION N 2 l AH H ' z "
F§GEEP.T F?. DE 'z`
UNITED STATES OF AMERICA, C§-EFYK. U.S. DISF?'.O£C'J!'IC'.)
W.D. ore TN, w:smpHrS
Plaintiff,
vs. Cr. No. 05-20134 D
RUSSELL WARREN,
Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

For good cause shown, defendant‘s request to waive his appearance at the report date set in

this case for June 30"‘, 2005. is hereby GRANTED. Defendant shall not be required to appear, and

shall remain on his present bond.

vol/-
lt is so 0RDERED, this theé€`@ day of Q¢,,,._/ ,2005_

%/6_/

UN TED STA ES JUD(§E

    

t ,- '\O*j
.(\ GO\"\Q§’?-\
@~’»`" ,0
GW?'KS
d ? 0
xe‘@ \KG‘
cumen& e;kc)‘ saw §
. (§O 89
v\\‘~:’ 55 \.
. \1\@

UNITD sATES DRISTIC COURT - ESTER DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20134 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

